Case 3:13-cv-00477-N-BQ Document 310 Filed 04/17/18                     Page 1 of 4 PageID 15810



                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
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 RALPHS. JANVEY, IN HIS CAPACITY
 AS COURT-APPOINTED RECEIVER FOR
 THE STANFORD RECEIVERSHIP
 ESTATE, AND THE OFFICIAL
 STANFORD INVESTORS COMMITTEE,

                          Plaintiffs,                  Civil Action No. 3:13-cv-00477-N
                                                       Hon. David C. Godbey
            - against -

 PROSKAUER ROSE, LLP,
 CHADBOURNE & PARKE, LLP, AND
 THOMAS V. SJOBLOM,

                          Defendants.

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                                        ADVISORY TO THE COURT

         Defendant Proskauer Rose LLP ("Proskauer") respectfully advises the Court that, on

 April 16, 2018, it appealed this Court's collateral order entered on April I 0, 2018 (ECF No. 301)

 to the U.S. Court of Appeals for the Fifth Circuit. See Exhibit A (Notice of Appeal).

        "[A] district court is divested of jurisdiction upon the filing of the notice of appeal with

 respect to any matters involved in the appeal." Alice L. v. Dusek, 492 F.3d 563, 564 (5th Cir.

 2007); see also Troice v. Proskauer Rose, L.L.P., 816 F.3d 341 , 346 (5th Cir. 2016) ("[A]ttorney

 immunity is properly characterized as a true immunity from suit."). Accordingly, this Court

 lacks jurisdiction to proceed with respect to plaintiffs' claims against Proskauer. See Garcia v.

 Burlington N. R.R. Co. , 818 F.2d 713, 721 (I 0th Cir. 1987) (explaining that any actions taken

 once a notice of appeal is filed are "null and void"). Because the Court lacks jurisdiction to issue

 any orders or take any other actions at the upcoming pre-trial conference that would "alter the
Case 3:13-cv-00477-N-BQ Document 310 Filed 04/17/18                     Page 2 of 4 PageID 15811



 status of the case as it rests before the Court of Appeals," Dayton lndep. Sch. Dist. v. U.S.

 Mineral Prods. Co., 906 F.2d I 059, 1063-64 (5th Cir. 1990), Proskauer respectfully submits that

 the pre-trial conference and all other pending matters should be adjourned until such time as

 Proskauer' s appeal is resolved.




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Case 3:13-cv-00477-N-BQ Document 310 Filed 04/17/18    Page 3 of 4 PageID 15812



Dated: April 17, 2018

    CARRINGTON, COLEMAN,                   DA VIS POLK & WARD WELL LLP
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Case 3:13-cv-00477-N-BQ Document 310 Filed 04/17/18                     Page 4 of 4 PageID 15813



                                   CERTIFICATE OF SERVICE

         I hereby certify that, on April 17, 2018, I electronically transmitted the foregoing

  document to the Clerk of the Court using the ECF system for filing. A Notice of Electronic

  Filing was transmitted to all ECF registrants.


                                                       /s/ James P. Rouhandeh
                                                       James P. Rouhandeh
